












Dismissed and Memorandum Opinion filed August 13,
2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-02-00975-CV

____________

&nbsp;

PHILIP PENNINGTON AND HAROLD CRUM, Appellants

&nbsp;

V.

&nbsp;

AHMED RABIE, Appellee

&nbsp;



&nbsp;

On Appeal from the
164th District Court

Harris
County, Texas

Trial Court Cause
No. 00-24538

&nbsp;



&nbsp;

M E M O R
A N D U M &nbsp;O P I N I O N

This is an appeal from a judgment signed June 11, 2002.&nbsp; On
November 14, 2002, this court abated the appeal because appellant, Harold Crum,
petitioned for voluntary bankruptcy in the United States Bankruptcy Court for
the Southern District of Texas, under cause number 01-80494G3-7.&nbsp; See
Tex. R. App. P. 8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on May 21,
2008.&nbsp; The parties failed to advise this court of the bankruptcy court action.








On June 25, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Guzman, and Boyce.





